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IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CONSUMER FINANCIAL
PROTECTION BUREAU,
Plaintiff
: 3:17-CV-101
V. : (Judge Mariani)
NAVIENT CORPORATION, et al.,
Defendants.
SPECIAL MASTER ORDER #57

THE BACKGROUND OF THIS ORDER IS AS FOLLOWS:

Presently at issue in this long-running dispute over the adequacy of
Defendants’ search for recordings of phone calls between Defendants’
representatives and student loan borrowers is the September 25, 2019 Declaration
of Stephanie K. Box, a litigation paralegal at Defendant Navient Solutions, LLC.
(Doc. 361-1.) This Declaration was presented pursuant to Special Master Report
#15 and the Order accompanying that Report. (Doc. 347.) That Report and Order
were precipitated by Plaintiffs challenge to an earlier declaration from Ms. Box
(Doc. 340-1) that had described in cursory terms the search of Defendants’
computerized call recording systems that returned 13 calls involving 5 student loan

borrowers from a list of approximately 150 records of 15 student loan borrowers
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submitted by Plaintiff in July of 2019.! Concluding that the first declaration of Ms.
Box was insufficient to assess the reasonableness of Defendants’ search efforts, the
Order accompanying Special Master Report #15 directed Defendants to submit an
affidavit or declaration that

shall identify the persons who participated in the search[;] their

qualifications; the databases that were searched; the potentially

relevant databases that were not searched and why; the search

criteria that were employed; the call recording systems in use by

Defendants during the relevant time period; explain whether there

are three or five recording systems that may contain the requested

call records; the amount of time expended in conducting the

search; and any other information that will facilitate a conclusion
that no additional searching need be required.

(Doc. 347 at 12-13.)

The purpose of requiring another declaration was to confirm that the
search for the items on Plaintiffs July 2019 list was “sufficiently thorough.”
(Id. at 9.) The Declaration submitted on September 25, 2019, although
imprecise as to some matters, provided much of the information called for in
Special Master Report #15.

Pointing out some of the imprecision of the second declaration from Ms.
Box, Plaintiff, by letter dated October 25, 2019, challenged the adequacy of that
Declaration. (Doc. 377.) Specifically, Plaintiff contended that the Declaration

“omits two key sets of information that are necessary to determine whether the July

 

! The list is attached as Exhibit A to Ms. Box’s September 25th Declaration.
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search was sufficient.” (/d. at 1.) The first omission, according to Plaintiff, was
that the Declaration “is vague as to whether Navient employed available search
criteria in a way that returned comprehensive and reliable results from its call
systems.” (/d; emphasis in original.) And the second omission, according to
Plaintiff, was that the Declaration “is vague as to whether Navient searched
multiple call systems or only one system for any given recording, and if the latter,
how the Navient employee could know for sure which single system to search and
why that call recording could not possibly reside in another system.” (/d.)

As to the first omission, Plaintiff expressed considerable concern about the
assertion in paragraph 7 of the September 25th Declaration that “[d]ifferent
combinations of information entered into these [search] fields may yield a different
result.” Plaintiff elaborated:

[T]the declaration does not explain how or why the results may
vary. Based on this statement, it is unclear whether different
searches would yield different groups of results, all of which should
include the relevant call; or whether one combination of search
criteria run for a particular call could successfully locate that call
while another combination of search criteria run for the same call
could fail to locate that call.

As to the second omission, Plaintiff pointed out that the Declaration was
unclear as to whether multiple systems were searched when calls occurred while

Defendants were transitioning from one call recording system, known as “NICE,”

to another system, “ININ.” Plaintiff also contended that the Declaration was
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unclear as to whether the outbound call system, known as “Noble,” used
exclusively by Defendants’ Customer Resolution Services (“CRS”) section, was
searched as well as the pertinent inbound call system.?

Plaintiff requested that Defendants be ordered to provide yet another
declaration to answer the following questions:

1. Why do different combinations of information entered to search
for a particular call recording yield different results? In what way
do results vary when different combinations of information are
entered into a search? Are there instances in which one
combination of search criteria will successfully locate a particular
call while another combination of search criteria will fail to locate
that same call? Provide a response that is specific to each
combination of search terms and each system (to the extent the
explanation differs from system to system).

2. What steps did Navient take to ensure that where one
combination of search criteria would locate a particular call but
another combination of search criteria would not locate that same

 

* Defendants had two sections interacting with student loan borrowers. CRS
became involved when a student borrower’s account was delinquent. The other
business section is known as “Servicing,” and as the term implies, handled loan
servicing inquiries, including requests for assistance from student borrowers who
may be experiencing financial distress but were not behind in their payments.
Servicing did not use the Noble system. CRS migrated from NICE to ININ
between November of 2013 and May of 2016. Servicing migrated from NICE to
ININ between September of 2014 and December of 2014. Thus, for calls
involving CRS, a “sufficiently thorough” search for any calls occurring between
November of 2013 and May of 2016 would have included NICE, ININ, and Noble
(assuming the information on the list provided by Plaintiff in July of 2019 did not
enable the searchers to determine whether the call was incoming or outgoing). For
other periods of time for calls involving CRS, a “sufficiently thorough” search
would encompass the pertinent incoming call recording system and Noble. As to
calls involving Servicing, a “sufficiently thorough” search would have included
both NICE and ININ when the call occurred between September and December of
2014.

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call, Navient ran a combination of search criteria that would locate
the call?

3. In what combination(s) was information entered into ININ,
NICE, or Noble in order to search for call recordings? Because
each system is capable of being searched by different types of
information, responses should be given for each of the three call
systems searched.

4. Over what dates was ININ used in the Servicing and CRS
business lines, respectively? Over what dates was NICE used in the
Servicing and CRS business lines, respectively? Over what dates
was Noble used in the CRS business line?

5. Did Navient search multiple call systems across ININ, NICE,
and Noble in order to obtain any individual call recording? How did
Navient determine when to do so?

6. For any call recordings for which Navient only searched one
system, how does Navient know with certainty which system to
search and why that call could not possibly reside in another
system?

7. In the event more than one employee searched for a particular
call recording, how did the searches conducted by each employee
differ?

8. Why did counsel for Navient state on August 8, 2018, that
searching for call recordings was burdensome “because over time
they’ve been on five different call recording systems’’?

9. What is the name and title of the person “who supervised the
search” undertaken by Navient in July 2019?

(Ud. at 3-4.)

By Special Master Order #56 (Doc. 378), dated October 28, 2019,
Defendants were directed to reply to Plaintiff's October 25th letter by November 1,
2019, and a telephone conference on this matter was scheduled for November 4,
2019. Defendants’ timely letter reply of November 1, 2019 (Doc. 379), took issue
with Plaintiff’ s request for what Defendants described as “a new declaration

seeking all sorts of minutiae regarding the call search, including what amounts to a

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call-by-call—and indeed, search-by-search—trecreation of Defendants’ search
efforts.” (/d. at 1-2.)

The parties’ respective positions were presented in greater detail during the
November 4th conference call. During the call, Plaintiff expressed satisfaction
with Defendants’ explanation that only three call recording systems were relevant:
ININ, NICE, and Noble. Plaintiff also accepted defense counsel’s representation
that Ms. Box supervised the search, although it did want to know whether Ms. Box
herself was supervised by anyone. For its part, Defendants agreed to supplement
Ms. Box’s Declaration by identifying the 35 entries on Exhibit A to her
Declaration that “reflected notations in the account in the servicing system for
which there are no independent records or, . . . reflected calls where there was no
contact with an agent and, therefore, no call was recorded.” (Doc. 361-1 at 1.)

That leaves approximately 101 requests for which no recordings or other
material was found.’ I agree with Defendants that an item-by-item recreation of
the searches conducted by the search team is not warranted. As noted above, much
of the information mentioned in Special Master Report #15 has been provided. For

instance, the September 25th Declaration identified the persons conducting the

 

3 There were approximately 150 items involving 15 student borrowers for
which searches were requested. As explained by Ms. Box, 35 entries did not
involve recorded calls or other records, and 13 calls and 1 letter were produced in
August of this year, leaving 101 records unaccounted for.

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search, their qualifications, and the search fields for specific recording systems,
e.g., ININ could be searched by borrower phone number. (Doc. 361-1 at 2.) Thus,
a new declaration that addresses the very detailed questions propounded in
Plaintiff's October 25, 2019 letter is not warranted.

But even Defendants acknowledged that the Declaration was imprecise in
certain respects, e.g., in not articulating that both ININ and NICE were searched
during periods when Servicing and CRS were transitioning from NICE to ININ.
Nor is it clear from the Declaration when the Noble system was searched for a
particular call. Finally, the assertion that “[d]ifferent combinations of information
entered into [search] fields may yield a different result,” and how the search team
took that factor into consideration needs explanation. Accordingly, Defendants
will be directed to provide yet another declaration that

1. Confirms that Ms. Box supervised the search efforts undertaken in

connection with the list attached as Exhibit A to the September 25th
Declaration, and addresses whether Ms. Box was supervised by any other
person and if so, by whom.

2. Identifies the 35 entries on Exhibit A to the September 25th Declaration

that would not involve a call recording or other record.

3. Specifies the call recording system(s) searched for each of the remaining

101 entries on Exhibit A to the September 25th Declaration.
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4, Explains in a more comprehensible manner the assertion in paragraph 7
of the September 25th Declaration that “[d]ifferent combinations of
information entered into [search] fields may yield a different result,” and
that describes any steps taken to ensure that where one combination of
search criteria would not locate a particular call but another combination
of search criteria would locate that same call, Defendants ran the
combination of search criteria that would locate the call. In this regard, it
would be helpful if the declaration provided some examples of the search
terms what were used for specific search fields.

NOW, THEREFORE, THIS 13th DAY OF NOVEMBER, 2019, IT IS

HEREBY ORDERED THAT:

1. No later than November 26, 2019, Defendants shall provide a
declaration or affidavit addressing the matters identified in
paragraphs numbered | through 4 above.

2. Plaintiff's request for a declaration or affidavit that responds to the
multiple questions posed in its letter of October 25, 2019 (Doc.

377) is DENIED.
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3. Objections to this Order must be submitted no later than twenty-

one (21) days after service of this Order.

s/ Thomas I. Vanaskie
THOMAS I. VANASKIE
SPECIAL MASTER
